                    Case 24-41357                   Doc 1          Filed 06/07/24 Entered 06/07/24 13:15:56                            Desc Main
                                                                     Document Page 1 of 65
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
                              Eastern District of Texas

 Case number (if known):                                            Chapter     11                                                     ❑ Check if this is an
                                                                                                                                           amended filing

Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                       06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.



    1. Debtor's name                              Lone Star Logistics and Delivery, LLC


    2. All other names debtor used                Lone Star Logistics and Delivery
       in the last 8 years

     Include any assumed names,
     trade names, and doing business
     as names



    3. Debtor's federal Employer                  8       4 – 2    9   1    7   6    0   8
       Identification Number (EIN)



    4. Debtor's address                            Principal place of business                                 Mailing address, if different from principal place of
                                                                                                               business

                                                   5211 Spanish Oaks


                                                   Number          Street                                      Number        Street

                                                   Frisco, TX 75034
                                                   City                                  State   ZIP Code      City                              State      ZIP Code

                                                                                                               Location of principal assets, if different from principal
                                                   Denton                                                      place of business
                                                   County




                                                                                                               Number        Street



                                                                                                               City                              State      ZIP Code




    5. Debtor's website (URL)



    6. Type of debtor                             ✔ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ❑
                                                  ❑ Partnership (excluding LLP)
                                                  ❑ Other. Specify:



Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
                    Case 24-41357               Doc 1          Filed 06/07/24 Entered 06/07/24 13:15:56                               Desc Main
                                                                 Document Page 2 of 65
Debtor      Lone Star Logistics and Delivery, LLC                                                               Case number (if known)
           Name
                                                A. Check one:
    7. Describe debtor's business
                                                ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                ❑ Railroad (as defined in 11 U.S.C. §101(44))
                                                ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                ❑ Clearing Bank (as defined in 11 U.S.C. §781(3))
                                                ✔ None of the above
                                                ❑
                                                B. Check all that apply:
                                                ❑ Tax-exempt entity (as described in 26 U.S.C. §501)
                                                ❑ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                                ❑ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                                C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                   http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   4      9     2    1

    8. Under which chapter of the               Check one:
       Bankruptcy Code is the                   ❑ Chapter 7
       debtor filing?

     A debtor who is a “small business
                                                ❑ Chapter 9
     debtor” must check the first subbox. A     ✔ Chapter 11. Check all that apply:
                                                ❑
     debtor as defined in § 1182(1) who
     elects to proceed under subchapter V          ❑ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     of chapter 11 (whether or not the                        noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     debtor is a “small business debtor”)                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     must check the second sub-box                            operations, cash-flow statement, and federal income tax return or if any of these documents do not
                                                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ✔ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                       ❑
                                                              debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                              proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                              balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                       ❑ A plan is being filed with this petition.
                                                       ❑ Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                              accordance with 11 U.S.C. § 1126(b).
                                                       ❑ The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                              Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                              (Official Form 201A) with this form.
                                                       ❑ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                                ❑ Chapter 12
    9. Were prior bankruptcy cases filed        ✔ No
                                                ❑
       by or against the debtor within the
       last 8 years?
                                                ❑ Yes. District                                       When                    Case number
                                                                                                             MM / DD / YYYY
     If more than 2 cases, attach a                       District                                     When                    Case number
     separate list.
                                                                                                              MM / DD / YYYY

  10. Are any bankruptcy cases pending          ✔ No
                                                ❑
      or being filed by a business partner
      or an affiliate of the debtor?            ❑ Yes. Debtor                                                                 Relationship

     List all cases. If more than 1, attach a             District                                                             When
     separate list.                                                                                                                          MM / DD / YYYY
                                                          Case number, if known



Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
                    Case 24-41357         Doc 1         Filed 06/07/24 Entered 06/07/24 13:15:56                               Desc Main
                                                          Document Page 3 of 65
Debtor        Lone Star Logistics and Delivery, LLC                                                      Case number (if known)
             Name


  11. Why is the case filed in this   Check all that apply:
      district?
                                      ✔ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                      ❑
                                         immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                         district.

                                      ❑ A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
  12. Does the debtor own or have     ✔ No
                                      ❑
      possession of any real
      property or personal property
                                      ❑ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      that needs immediate                      Why does the property need immediate attention? (Check all that apply.)
      attention?                                ❑ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?


                                                ❑ It needs to be physically secured or protected from the weather.
                                                ❑ It includes perishable goods or assets that could quickly deteriorate or lose value without attention
                                                      (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other
                                                      options).
                                                ❑ Other
                                                Where is the property?
                                                                          Number        Street




                                                                          City                                         State    ZIP Code
                                                Is the property insured?
                                                ❑ No
                                                ❑ Yes.        Insurance agency
                                                              Contact name
                                                              Phone


          Statistical and administrative information

         13. Debtor’s estimation of   Check one:
             available funds?         ❑ Funds will be available for distribution to unsecured creditors.
                                      ✔ After any administrative expenses are paid, no funds will be available for distribution to unsecured
                                      ❑
                                         creditors.

         14. Estimated number of
                                       ✔ 1-49 ❑ 50-99
                                       ❑                                  ❑ 1,000-5,000 ❑ 5,001-10,000             ❑ 25,001-50,000 ❑ 50,000-100,000
             creditors                 ❑ 100-199 ❑ 200-999                ❑ 10,001-25,000                          ❑ More than 100,000

         15. Estimated assets          ❑ $0-$50,000                          ❑ $1,000,001-$10 million                  ❑ $500,000,001-$1 billion
                                       ❑ $50,001-$100,000                    ❑ $10,000,001-$50 million                 ❑ $1,000,000,001-$10 billion
                                       ❑ $100,001-$500,000                   ❑ $50,000,001-$100 million                ❑ $10,000,000,001-$50 billion
                                       ✔ $500,001-$1 million
                                       ❑                                     ❑ $100,000,001-$500 million               ❑ More than $50 billion




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 3
                     Case 24-41357             Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                                   Desc Main
                                                              Document Page 4 of 65
Debtor        Lone Star Logistics and Delivery, LLC                                                            Case number (if known)
             Name



                                            ❑ $0-$50,000                              ❑ $1,000,001-$10 million                 ❑ $500,000,001-$1 billion
         16. Estimated liabilities
                                            ❑ $50,001-$100,000                        ❑ $10,000,001-$50 million                ❑ $1,000,000,001-$10 billion
                                            ❑ $100,001-$500,000                       ❑ $50,000,001-$100 million               ❑ $10,000,000,001-$50 billion
                                            ✔ $500,001-$1 million
                                            ❑                                         ❑ $100,000,001-$500 million              ❑ More than $50 billion

           Request for Relief, Declaration, and Signatures


 WARNING --           Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
                      imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


         17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
             authorized representative of            petition.
             debtor
                                                     I have been authorized to file this petition on behalf of the debtor.

                                                     I have examined the information in this petition and have a reasonable belief that the information is true
                                                     and correct.

                                               I declare under penalty of perjury that the foregoing is true and correct.

                                                   Executed on     06/07/2024
                                                                   MM/ DD/ YYYY



                                               ✘ /s/ Brian Anthony Blackmire                                                    Brian Anthony Blackmire
                                                   Signature of authorized representative of debtor                 Printed name



                                                   Title                Director and Owner



         18. Signature of attorney
                                               ✘                   /s/ Michael S. Mitchell                          Date      06/07/2024
                                                   Signature of attorney for debtor                                           MM/ DD/ YYYY




                                                    Michael S. Mitchell
                                                   Printed name


                                                    DeMarco Mitchell, PLLC
                                                   Firm name


                                                    500 N. Central Expressway Suite 500
                                                   Number          Street


                                                    Plano                                                              TX              75074
                                                   City                                                               State            ZIP Code



                                                    (972) 578-1400                                                      mike@demarcomitchell.com
                                                   Contact phone                                                       Email address



                                                    00788065                                                            TX
                                                   Bar number                                                          State




Official Form 201                                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 4
Case 24-41357   Doc 1   Filed 06/07/24 Entered 06/07/24 13:15:56   Desc Main
                          Document Page 5 of 65
Case 24-41357   Doc 1   Filed 06/07/24 Entered 06/07/24 13:15:56   Desc Main
                          Document Page 6 of 65
                Case 24-41357                     Doc 1     Filed 06/07/24 Entered 06/07/24 13:15:56                                  Desc Main
                                                              Document Page 7 of 65
 Fill in this information to identify the case:

  Debtor Name       Lone Star Logistics and Delivery, LLC

  United States Bankruptcy Court for the:                 Eastern            District of      Texas
                                                                                               (State)
  Case number (If
  known):                                                                                                                                   ❑ Check if this is an
                                                                                                                                                amended filing


Official Form 206A/B

Schedule A/B: Assets — Real and Personal Property                                                                                                                12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include all
property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have no book
value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired leases. Also list
them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional sheet is
attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset schedule or
 depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the debtor’s interest, do not
 deduct the value of secured claims. See the instructions to understand the terms used in this form.

      Part 1:      Cash and cash equivalents

 1.      Does the debtor have any cash or cash equivalents?

         ❑ No. Go to Part 2.
         ✔ Yes. Fill in the information below.
         ❑
         All cash or cash equivalents owned or controlled by the debtor                                                                     Current value of
                                                                                                                                            debtor’s interest

 2.      Cash on hand

 3.      Checking, savings, money market, or financial brokerage accounts (Identify all)

         Name of institution (bank or brokerage firm)           Type of account                           Last 4 digits of account number

         3.1. Prosperity Bank                                       Checking account                       5    6    0    0                              $1,859.92

         3.2. RBF Credit Union                                      Checking account                       0    4    8    5                             $12,196.46

 4.      Other cash equivalents (Identify all)

         4.1

         4.2


 5.      Total of Part 1
                                                                                                                                                      $14,056.38
         Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.


      Part 2:      Deposits and prepayments

 6.      Does the debtor have any deposits or prepayments?

         ❑ No. Go to Part 3.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                            Current value of
                                                                                                                                            debtor’s interest

 7.      Deposits, including security deposits and utility deposits

         Description, including name of holder of deposit




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                       page 1
                  Case 24-41357               Doc 1          Filed 06/07/24 Entered 06/07/24 13:15:56                               Desc Main
                                                               Document Page 8 of 65
Debtor           Lone Star Logistics and Delivery, LLC                                                    Case number (if known)
                 Name




         7.1     Amazon                                                                                                                              $52,500.00


 8.      Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

         Description, including name of holder of prepayment

         8.1

         8.2


 9.      Total of Part 2
                                                                                                                                                   $52,500.00
         Add lines 7 through 8. Copy the total to line 81.


      Part 3:       Accounts receivable

 10.     Does the debtor have any accounts receivable?

         ❑ No. Go to Part 4.
         ✔ Yes. Fill in the information below.
         ❑
                                                                                                                                         Current value of
                                                                                                                                         debtor’s interest

 11.     Accounts receivable

         11a. 90 days old or less:           $346,253.00              -                unknown                        ➔
                                                                                                                 =.....                            $346,253.00
                                     face amount                          doubtful or uncollectible accounts

         11b. Over 90 days old:                                       -                                               ➔
                                                                                                                 =.....
                                     face amount                          doubtful or uncollectible accounts


 12.     Total of Part 3
                                                                                                                                                  $346,253.00
         Current value on lines 11a + 11b = line 12. Copy the total to line 82.


      Part 4:       Investments

 13.     Does the debtor own any investments?

         ✔ No. Go to Part 5.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                 Valuation method used   Current value of
                                                                                                                 for current value       debtor’s interest

 14.     Mutual funds or publicly traded stocks not included in Part 1

         Name of fund or stock:

         14.1

         14.2


 15.     Non-publicly traded stock and interests in incorporated and unincorporated businesses,
         including any interest in an LLC, partnership, or joint venture

         Name of entity:                                                                     % of
                                                                                             ownership:

         15.1.

         15.2.




Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                     page 2
                 Case 24-41357                Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                           Desc Main
                                                             Document Page 9 of 65
Debtor          Lone Star Logistics and Delivery, LLC                                              Case number (if known)
                Name




 16.     Government bonds, corporate bonds, and other negotiable and non-negotiable
         instruments not included in Part 1

         Describe:

         16.1

         16.2


 17.     Total of Part 4
         Add lines 14 through 16. Copy the total to line 83.


   Part 5:           Inventory, excluding agriculture assets

 18.     Does the debtor own any inventory (excluding agriculture assets)?

         ✔ No. Go to Part 6.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                   Date of the last     Net book value of      Valuation method used   Current value of
                                                               physical inventory   debtor's interest      for current value       debtor’s interest

                                                                                    (Where available)

 19.     Raw materials


                                                               MM / DD / YYYY


 20.     Work in progress


                                                               MM / DD / YYYY


 21.     Finished goods, including goods held for resale


                                                               MM / DD / YYYY


 22.     Other inventory or supplies


                                                               MM / DD / YYYY


 23.     Total of Part 5
         Add lines 19 through 22. Copy the total to line 84.


 24.     Is any of the property listed in Part 5 perishable?

         ✔ No
         ❑
         ❑ Yes
 25.     Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                      Current value

 26.     Has any of the property listed in Part 5 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 6:           Farming and fishing-related assets (other than titled motor vehicles and land)




Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                page 3
                Case 24-41357                 Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                          Desc Main
                                                            Document Page 10 of 65
Debtor         Lone Star Logistics and Delivery, LLC                                              Case number (if known)
              Name




 27.     Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

         ✔ No. Go to Part 7.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                       Net book value of      Valuation method used   Current value of
                                                                                   debtor's interest      for current value       debtor’s interest

                                                                                   (Where available)

 28.     Crops—either planted or harvested




 29.     Farm animals Examples: Livestock, poultry, farm-raised fish




 30.     Farm machinery and equipment (Other than titled motor vehicles)




 31.     Farm and fishing supplies, chemicals, and feed




 32.     Other farming and fishing-related property not already listed in Part 6




 33.     Total of Part 6
         Add lines 28 through 32. Copy the total to line 85.


 34.     Is the debtor a member of an agricultural cooperative?

         ✔ No
         ❑
         ❑ Yes. Is any of the debtor’s property stored at the cooperative?
            ❑ No
            ❑ Yes
 35.     Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

         ✔ No
         ❑
         ❑ Yes. Book value                           Valuation method                     Current value

 36.     Is a depreciation schedule available for any of the property listed in Part 6?

         ✔ No
         ❑
         ❑ Yes
 37.     Has any of the property listed in Part 6 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 7:         Office furniture, fixtures, and equipment; and collectibles

 38.     Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

         ❑ No. Go to Part 8.
         ✔ Yes. Fill in the information below.
         ❑



Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                               page 4
                 Case 24-41357                Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                             Desc Main
                                                            Document Page 11 of 65
Debtor          Lone Star Logistics and Delivery, LLC                                                Case number (if known)
                Name




         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest

                                                                                      (Where available)

 39.     Office furniture




 40.     Office fixtures




 41.     Office equipment, including all computer equipment and
         communication systems equipment and software

                                                                                                            Estimated current
         2 Dell Laptop Computers                                                               unknown      market value                           $600.00

                                                                                                            Estimated Current
         100 Motorola G Power Cell Phones                                                      unknown      Market Value                         $7,500.00

                                                                                                            Estimated current
         2 computer printers                                                                   unknown      market value                           $200.00


 42.     Collectibles Examples: Antiques and figurines; paintings, prints, or other
         artwork; books, pictures, or other art objects; china and crystal; stamp,
         coin, or baseball card collections; other collections, memorabilia, or
         collectibles

         42.1

         42.2

         42.3


 43.     Total of Part 7
                                                                                                                                               $8,300.00
         Add lines 39 through 42. Copy the total to line 86.


 44.     Is a depreciation schedule available for any of the property listed in Part 7?

         ✔ No
         ❑
         ❑ Yes
 45.     Has any of the property listed in Part 7 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 8:         Machinery, equipment, and vehicles

 46.     Does the debtor own or lease any machinery, equipment, or vehicles?

         ❑ No. Go to Part 9.
         ✔ Yes. Fill in the information below.
         ❑
         General description                                                          Net book value of     Valuation method used   Current value of
                                                                                      debtor's interest     for current value       debtor’s interest
         Include year, make, model, and identification numbers (i.e., VIN, HIN, or
         N-number)                                                                    (Where available)

 47.     Automobiles, vans, trucks, motorcycles, trailers, and titled farm
         vehicles

         47.1 2022 Chevrolet Silverado / VIN: 3GCPWBEK7NG118519                                unknown      NADA                                $39,500.00


Official Form 206A/B                                  Schedule A/B: Assets — Real and Personal Property                                                 page 5
                 Case 24-41357                Doc 1         Filed 06/07/24 Entered 06/07/24 13:15:56                           Desc Main
                                                             Document Page 12 of 65
Debtor          Lone Star Logistics and Delivery, LLC                                                Case number (if known)
                Name




         47.2 2024 Cadillac Escalade Premium Luxury / VIN:                                     unknown      NADA                                $90,000.00
                1GYS4LKL5RR166376


         47.3 2021 Bentley Bentayga / VIN: SJAAM2ZV5MC033908                                   unknown      NADA                              $145,000.00


         47.4 70 Leased Delivery Vans (See Attached Exhibit "A"                                unknown      NADA                                 unknown
                for Descriptions)


 48.     Watercraft, trailers, motors, and related accessories Examples:
         Boats, trailers, motors, floating homes, personal watercraft, and fishing
         vessels

         48.1

         48.2


 49.     Aircraft and accessories

         49.1

         49.2


 50.     Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)




 51.     Total of Part 8
                                                                                                                                            $274,500.00
         Add lines 47 through 50. Copy the total to line 87.


 52.     Is a depreciation schedule available for any of the property listed in Part 8?

         ✔ No
         ❑
         ❑ Yes
 53.     Has any of the property listed in Part 8 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
   Part 9:         Real property

 54.     Does the debtor own or lease any real property?

         ✔ No. Go to Part 10.
         ❑
         ❑ Yes. Fill in the information below.
 55.     Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

         Description and location of property                  Nature and extent      Net book value of     Valuation method used   Current value of
         Include street address or other description such      of debtor’s interest   debtor's interest     for current value       debtor’s interest
         as Assessor Parcel Number (APN), and type of          in property
         property (for example, acreage, factory,                                     (Where available)
         warehouse, apartment or office building), if
         available.

         55.1

         55.2

         55.3

         55.4



Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                page 6
                 Case 24-41357                Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                               Desc Main
                                                            Document Page 13 of 65
Debtor          Lone Star Logistics and Delivery, LLC                                                 Case number (if known)
                Name




         55.5

         55.6


 56.     Total of Part 9
         Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.


 57.     Is a depreciation schedule available for any of the property listed in Part 9?

         ✔ No
         ❑
         ❑ Yes
 58.     Has any of the property listed in Part 9 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 10:          Intangibles and intellectual property

 59.     Does the debtor have any interests in intangibles or intellectual property?

         ✔ No. Go to Part 11.
         ❑
         ❑ Yes. Fill in the information below.
         General description                                                          Net book value of        Valuation method used   Current value of
                                                                                      debtor's interest        for current value       debtor’s interest

                                                                                      (Where available)

 60.     Patents, copyrights, trademarks, and trade secrets




 61.     Internet domain names and websites




 62.     Licenses, franchises, and royalties




 63.     Customer lists, mailing lists, or other compilations




 64.     Other intangibles, or intellectual property




 65.     Goodwill




 66.     Total of Part 10
         Add lines 60 through 65. Copy the total to line 89.


 67.     Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?

         ✔ No
         ❑
         ❑ Yes



Official Form 206A/B                                   Schedule A/B: Assets — Real and Personal Property                                                   page 7
                Case 24-41357                  Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                                Desc Main
                                                             Document Page 14 of 65
Debtor         Lone Star Logistics and Delivery, LLC                                                   Case number (if known)
               Name




 68.     Is there an amortization or other similar schedule available for any of the property listed in Part 10?

         ✔ No
         ❑
         ❑ Yes
 69.     Has any of the property listed in Part 10 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 11:         All other assets

 70.     Does the debtor own any other assets that have not yet been reported on this form?
         Include all interests in executory contracts and unexpired leases not previously reported on this form.

         ✔ No. Go to Part 12.
         ❑
         ❑ Yes. Fill in the information below.
                                                                                                                                        Current value of
                                                                                                                                        debtor’s interest

 71.     Notes receivable

         Description (include name of obligor)

                                                                                      –                                         =   ➔
                                                              Total face amount           doubtful or uncollectible amount


 72.     Tax refunds and unused net operating losses (NOLs)

         Description (for example, federal, state, local)

                                                                                                         Tax year

                                                                                                         Tax year

                                                                                                         Tax year


 73.     Interests in insurance policies or annuities




 74.     Causes of action against third parties (whether or not a lawsuit has
         been filed)



         Nature of claim

         Amount requested


 75.     Other contingent and unliquidated claims or causes of action of
         every nature, including counterclaims of the debtor and rights to
         set off claims



         Nature of claim

         Amount requested


 76.     Trusts, equitable or future interests in property




Official Form 206A/B                                    Schedule A/B: Assets — Real and Personal Property                                                   page 8
                   Case 24-41357                         Doc 1              Filed 06/07/24 Entered 06/07/24 13:15:56                                                  Desc Main
                                                                             Document Page 15 of 65
Debtor           Lone Star Logistics and Delivery, LLC                                                                               Case number (if known)
                Name




 77.     Other property of any kind not already listed Examples: Season
         tickets, country club membership




 78.     Total of Part 11
         Add lines 71 through 77. Copy the total to line 90.


 79.     Has any of the property listed in Part 11 been appraised by a professional within the last year?

         ✔ No
         ❑
         ❑ Yes
  Part 12:            Summary


 In Part 12 copy all of the totals from the earlier parts of the form.


         Type of property                                                                                        Current value of                         Current value
                                                                                                                 personal property                        of real property

 80.     Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                                     $14,056.38

 81.     Deposits and prepayments. Copy line 9, Part 2.                                                                         $52,500.00

 82.     Accounts receivable. Copy line 12, Part 3.                                                                           $346,253.00

 83.     Investments. Copy line 17, Part 4.

 84.     Inventory. Copy line 23, Part 5.

 85.     Farming and fishing-related assets. Copy line 33, Part 6.

 86.     Office furniture, fixtures, and equipment; and collectibles.
                                                                                                                                 $8,300.00
         Copy line 43, Part 7.

 87.     Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                            $274,500.00


 88.     Real property. Copy line 56, Part 9..........................................................................................   ➔
 89.     Intangibles and intellectual property. Copy line 66, Part 10.

 90.     All other assets. Copy line 78, Part 11.                                                           +

 91.     Total. Add lines 80 through 90 for each column............................91a.                                      $695,609.38        + 91b.


 92.     Total of all property on Schedule A/B. Lines 91a + 91b = 92. .....................................................................................................   $695,609.38




Official Form 206A/B                                                 Schedule A/B: Assets — Real and Personal Property                                                             page 9
                       Case 24-41357                                        Doc 1 Filed 06/07/24 Entered 06/07/24 13:15:56                                                                                                                      Desc Main
                                                                                 Exhibit "A" - LeasedPage
                                                                                     Document         Vans 16 of 65

vin                 vehicleName           licensePlateNumber year make      model              subModel                                                                 LEASING COMPANY   ownershipStartDate   ownershipEndDate   registeredState   serviceTier
1FTBR3X84MKA54181   LONE 51 OLD TNEX 7    RBL7015             2021 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van                                 ELEMENT           2021-10-21           2027-05-21         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM0KKB34257   LONE 14               MRP9793             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-21           2025-05-21         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XMXKKB34203   LONE 20               MTJ6357             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-12-05           2025-07-05         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM9KKB34211   LONE 10               MRP1223             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2025-05-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KY8K0A16621   LONE 109 - SV         NNB3743             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-08-24           2026-03-24         TX - Texas        STEP_VAN_MEDIUM
1FTYR3XM5KKB34223   LONE 15               MRN8204             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-21           2026-06-21         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM8KKB34264   LONE 18               MTJ2856             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-11-01           2026-07-01         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM9KKB34256   LONE 6                MRP7531             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2025-05-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTBR3X82LKA47440   LONE 24               NBR9173             2020 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van                                 ELEMENT           2020-05-28           2027-01-28         TX - Texas        EXTRA_LARGE_CARGO_VAN
3C6MRVJG2ME579450   LONE 53 OLD TNEX 12   RFB7667             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             ELEMENT           2021-12-10           2027-07-10         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTBR3X83LKA47446   LONE 21               NFJ9715             2020 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van                                 ELEMENT           2020-05-15           2025-12-15         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM5KKB34237   LONE 16               MRP7528             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-25           2025-05-25         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KY2K0A16971   LONE 107 - SV         NMV9455             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-08-27           2026-03-27         TX - Texas        STEP_VAN_MEDIUM
1FTBR3X8XLKA47444   LONE 23               NFJ9714             2020 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van                                 ELEMENT           2020-05-15           2025-12-15         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM7KKB34188   LONE 3                MRP7532             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2025-05-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTBR3X81LKA47462   LONE 25               NBR9172             2020 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van                                 ELEMENT           2020-05-28           2027-01-28         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM4KKB34181   LONE 5                MRP7526             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2025-05-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM5KKB34187   LONE 11               MRP7536             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2025-05-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTBR3X86MKA54554   LONE 52 OLD TNEX 10   RBL7020             2021 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van                                 ELEMENT           2021-10-21           2027-05-21         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM9KKB34239   LONE 17               MRP7533             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-25           2025-05-25         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KY7K0A16612   LONE 102 - SV         NMV9549             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-07-13           2026-02-13         TX - Texas        STEP_VAN_MEDIUM
1FTYR3XM1KKB34204   LONE 12               MRN8203             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-21           2025-05-21         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KY9K0A16658   LONE 105 - SV         PGK1644             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-07-08           2026-02-08         TX - Texas        STEP_VAN_MEDIUM
1FTYR3XM4KKB34195   LONE 1                MRP7527             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2025-05-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XMXKKB34248   LONE 19               MTN4944             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-11-12           2025-06-12         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTBR3X83LKA47494   LONE 26               NBR9171             2020 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van                                 ELEMENT           2020-05-28           2025-12-28         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XMXKKB34198   LONE 4                MRP7534             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2025-05-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTBR3X84LKA47441   LONE 22               NFJ9713             2020 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van                                 ELEMENT           2020-05-15           2025-12-15         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XMXKKB34217   LONE 7                MRP1224             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2025-05-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM6KKB34229   LONE 9                MRP7535             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2026-06-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KY3K0A16977   LONE 104 - SV         NFL7644             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-07-06           2026-02-06         TX - Texas        STEP_VAN_MEDIUM
1FTYR3XM4KKB34228   LONE 2                MRP7530             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2025-05-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KY0K0A16628   LONE 110 - SV         NTM8673             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-08-22           2026-03-22         TX - Texas        STEP_VAN_MEDIUM
1F65F5KY3K0A16980   LONE 106 - SV         NFL7916             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-07-08           2026-02-08         TX - Texas        STEP_VAN_MEDIUM
1F65F5KY7K0A16643   LONE 108 - SV         NHC9919             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-07-13           2026-02-13         TX - Texas        STEP_VAN_MEDIUM
3C6MRVJG9ME571183   LONE 39               RCP6615             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             ELEMENT           2021-11-16           2027-06-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FTYR3XM9KKB34242   LONE 8                MRP7529             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-16           2026-06-16         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KYXK0A16636   LONE 103 - SV         NMV9548             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-07-13           2026-02-13         TX - Texas        STEP_VAN_MEDIUM
1FTYR3XM2KKB34194   LONE 13               MRN9509             2019 Ford     Transit            250 3dr LWB High Roof Extended Cargo Van w/Sliding Passenger Side Door   ELEMENT           2019-10-21           2025-05-21         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KYXK0A16622   LONE 101 - SV         NMV9454             2019 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           ELEMENT           2020-07-14           2026-02-14         TX - Texas        STEP_VAN_MEDIUM
3C6MRVJG9ME586573   LONE 38               RJN2477             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             LP / WHEELS       2021-11-30           2026-11-30         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KN7M0A01973   LONE 115 - SV         PVF1168             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-09           2026-12-09         TX - Texas        STEP_VAN_MEDIUM
1F65F5KN7M0A01777   LONE 117 - SV         RXB4573             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-10           2026-12-10         TX - Texas        STEP_VAN_MEDIUM
1F65F5KN6M0A01785   LONE 118 - SV         RJN2661             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-10           2026-12-10         TX - Texas        STEP_VAN_MEDIUM
3C6MRVJG8ME586614   LONE 33               RDT4425             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             LP / WHEELS       2021-12-03           2026-12-03         TX - Texas        EXTRA_LARGE_CARGO_VAN
3C6MRVJG8ME586984   LONE 34               RFT3981             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             LP / WHEELS       2021-12-03           2026-12-03         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FDDF6P84MKA78558   LONE 30 CDV           RJN2478             2021 Ford     Transit            350 HD 2dr 178 in. WB DRW Cutaway Chassis w/9950 Lb. GVWR                LP / WHEELS       2021-12-11           2026-12-11         TX - Texas        CUSTOM_DELIVERY_VAN_SIXTEEN_FT
7FCEHDB7XNN000818   LONE 46 EDV           SPP0568             2022 Rivian   EDV 700            2dr Cargo                                                                LP / WHEELS       2022-12-03           2027-12-03         TX - Texas        ELECTRIC_RPV_MEDIUM
3C6MRVJG9ME586444   LONE 37               RDT4426             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             LP / WHEELS       2021-11-30           2026-11-30         TX - Texas        EXTRA_LARGE_CARGO_VAN
1F65F5KN8M0A01772   LONE 116 - SV         RJN2663             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-10           2026-12-10         TX - Texas        STEP_VAN_MEDIUM
1F65F5KN6M0A01639   LONE 113 - SV         PVX0758             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-07           2026-12-07         TX - Texas        STEP_VAN_MEDIUM
7FCEHDB71NN000867   LONE 41 EDV           SKN4759             2022 Rivian   EDV 700            2dr Cargo                                                                LP / WHEELS       2022-09-26           2027-09-26         TX - Texas        ELECTRIC_RPV_MEDIUM
1F65F5KN4M0A01431   LONE 111-SV           PVX0754             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-07           2026-12-07         TX - Texas        STEP_VAN_MEDIUM
1F65F5KN3M0A01971   LONE 120 SV           RJN2660             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-10           2026-12-10         TX - Texas        STEP_VAN_MEDIUM
7FCEHDB70NN001234   LONE 43 EDV           SJS6103             2022 Rivian   EDV 700            2dr Cargo                                                                LP / WHEELS       2022-09-26           2027-09-26         TX - Texas        ELECTRIC_RPV_MEDIUM
1FDDF6P84MKA78561   LONE 29 CDV           RJN2479             2021 Ford     Transit            350 HD 2dr 178 in. WB DRW Cutaway Chassis w/9950 Lb. GVWR                LP / WHEELS       2021-12-11           2026-12-11         TX - Texas        CUSTOM_DELIVERY_VAN_SIXTEEN_FT
1F65F5KN9M0A01960   LONE 114 - SV         PVX0764             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-07           2026-12-07         TX - Texas        STEP_VAN_MEDIUM
7FCEHDB77NN001151   LONE 45 EDV           SPP0603             2022 Rivian   EDV 700            2dr Cargo                                                                LP / WHEELS       2022-12-02           2027-12-02         TX - Texas        ELECTRIC_RPV_MEDIUM
7FCEHDB78NN002535   LONE 47 EDV           SWR3036             2022 Rivian   EDV 700            2dr Cargo                                                                LP / WHEELS       2022-12-16           2027-12-16         TX - Texas        ELECTRIC_RPV_MEDIUM
3C6MRVJGXME586582   LONE 32               RBR7297             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             LP / WHEELS       2021-12-04           2026-12-04         TX - Texas        EXTRA_LARGE_CARGO_VAN
7FCEHDB70NN001086   LONE 42 EDV           SPP0562             2022 Rivian   EDV 700            2dr Cargo                                                                LP / WHEELS       2022-09-27           2027-09-27         TX - Texas        ELECTRIC_RPV_MEDIUM
3C6MRVJG8ME586418   LONE 31               RBF1370             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             LP / WHEELS       2021-11-26           2026-11-26         TX - Texas        EXTRA_LARGE_CARGO_VAN
7FCEHDB73NN002488   LONE 48 EDV           SSZ3683             2022 Rivian   EDV 700            2dr Cargo                                                                LP / WHEELS       2022-12-22           2027-12-22         TX - Texas        ELECTRIC_RPV_MEDIUM
7FCEHDB71NN001226   LONE 44 EDV           SJS6104             2022 Rivian   EDV 700            2dr Cargo                                                                LP / WHEELS       2022-09-27           2027-09-27         TX - Texas        ELECTRIC_RPV_MEDIUM
3C6MRVJG7ME587320   LONE 35               RJN2476             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             LP / WHEELS       2021-11-30           2026-11-30         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FDDF6P84MKA78575   LONE 27 CDV           RJN2480             2021 Ford     Transit            350 HD 2dr 178 in. WB DRW Cutaway Chassis w/9950 Lb. GVWR                LP / WHEELS       2021-12-16           2026-12-16         TX - Texas        CUSTOM_DELIVERY_VAN_SIXTEEN_FT
3C6MRVJG8ME587309   LONE 36               RDT4471             2021 Ram      ProMaster          3500 159 WB 3dr High Roof Extended Cargo Van                             LP / WHEELS       2021-12-14           2026-12-14         TX - Texas        EXTRA_LARGE_CARGO_VAN
1FDDF6P86MKA82238   LONE 28 CDV           RJN2475             2021 Ford     Transit            350 HD 2dr 178 in. WB DRW Cutaway Chassis w/9950 Lb. GVWR                LP / WHEELS       2021-12-16           2026-12-16         TX - Texas        CUSTOM_DELIVERY_VAN_SIXTEEN_FT
1F65F5KN7M0A01780   LONE 119 SV           RJN2662             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-10           2026-12-10         TX - Texas        STEP_VAN_MEDIUM
1F65F5KN9M0A02008   LONE 112 - SV         PVX0759             2021 Ford     Stripped Chassis   4X2 Chassis 178.2-228.2 in. WB                                           LP / WHEELS       2021-12-07           2026-12-07         TX - Texas        STEP_VAN_MEDIUM
                 Case 24-41357                      Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                                      Desc Main
                                                                  Document Page 17 of 65
 Fill in this information to identify the case:

     Debtor name     Lone Star Logistics and Delivery, LLC

     United States Bankruptcy Court for the:                 Eastern                 District of             Texas
                                                                                                   (State)
     Case number (if known):                                                                                                                         ❑ Check if this is an
                                                                                                                                                         amended filing

Official Form 206D

Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                 12/15

Be as complete and accurate as possible.

1.     Do any creditors have claims secured by debtor’s property?
       ❑ No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List Creditors Who Have Secured Claims

 2.     List in alphabetical order all creditors who have secured claims. If a creditor has more than one                  Column A                       Column B
        secured claim, list the creditor separately for each claim.                                                        Amount of claim                Value of collateral
                                                                                                                           Do not deduct the value        that supports this
                                                                                                                           of collateral.                 claim

 2.1 Creditor’s name                                         Describe debtor’s property that is subject to a lien
         Ally Financial                                      2021 Bentley Bentayga                                                    $143,811.86                $145,000.00

        Creditor’s mailing address                           Describe the lien

         PO Box 380901                                       Purchase Money Lien Perfected by
                                                             Notation on Certificate of Title
         Bloomington, MN 55438
                                                             Is the creditor an insider or related party?
        Creditor’s email address, if known
                                                             ✔ No
                                                             ❑
                                                             ❑ Yes
        Date debt was incurred             1/19/23           Is anyone else liable on this claim?
                                                             ❑ No
        Last 4 digits of account       5    8   2       3    ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                             ❑
        number

        Do multiple creditors have an interest in            As of the petition filing date, the claim is:
                                                             Check all that apply.
        the same property?
        ✔ No
        ❑                                                    ❑ Contingent
        ❑ Yes. Specify each creditor, including this         ❑ Unliquidated
                 creditor, and its relative priority.        ❑ Disputed




 3.     Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional                                  $873,845.93
        Page, if any.


Official Form 206D                                      Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 11
               Case 24-41357                       Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                                      Desc Main
                                                                Document Page 18 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                                      Case number (if known)
          Name




   Part 1:        Additional Page                                                                                        Column A                  Column B
                                                                                                                         Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                         Do not deduct the value   that supports this
 previous page.                                                                                                          of collateral.            claim

2.2 Creditor’s name                                        Describe debtor’s property that is subject to a lien
      G M Financial                                        2024 Cadillac Escalade Premium Luxury                                    $122,187.91            $90,000.00

     Creditor’s mailing address                            Describe the lien

      801 Cherry Street Suite 3600                         Purchase Money Lien Perfected by
                                                           Notation on Certificate of Title
      Fort Worth, TX 76102
                                                           Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                           ✔ No
                                                           ❑
                                                           ❑ Yes
     Date debt was incurred             2/13/24            Is anyone else liable on this claim?
                                                           ❑ No
     Last 4 digits of account       9      6   8     2     ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                           ❑
     number

     Do multiple creditors have an interest in             As of the petition filing date, the claim is:
                                                           Check all that apply.
     the same property?
     ✔ No
     ❑                                                     ❑ Contingent
     ❑ Yes. Have you already specified the                 ❑ Unliquidated
               relative priority?                          ❑ Disputed
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 2 of 11
               Case 24-41357                       Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                                      Desc Main
                                                                Document Page 19 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                                      Case number (if known)
          Name




   Part 1:        Additional Page                                                                                        Column A                  Column B
                                                                                                                         Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                         Do not deduct the value   that supports this
 previous page.                                                                                                          of collateral.            claim

2.3 Creditor’s name                                        Describe debtor’s property that is subject to a lien
      GM Financial                                         2022 Chevrolet Silverado                                                   $32,266.05           $39,500.00

     Creditor’s mailing address                            Describe the lien

      801 Cherry Street Suite 3600                         Purchase Money Lien Perfected by
                                                           Notation on Certificate of Title
      Fort Worth, TX 76102
                                                           Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                           ✔ No
                                                           ❑
                                                           ❑ Yes
     Date debt was incurred             12/15/21           Is anyone else liable on this claim?
                                                           ✔ No
                                                           ❑
     Last 4 digits of account
     number
                                    6      1   5     5     ❑ Yes. Fill out Schedule H: Codebtors (Official Form 206H).

     Do multiple creditors have an interest in             As of the petition filing date, the claim is:
                                                           Check all that apply.
     the same property?
     ✔ No
     ❑                                                     ❑ Contingent
     ❑ Yes. Have you already specified the                 ❑ Unliquidated
               relative priority?                          ❑ Disputed
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ❑ Yes. The relative priority of creditors
                   is specified on lines




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 11
               Case 24-41357                       Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                                      Desc Main
                                                                Document Page 20 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                                      Case number (if known)
          Name




   Part 1:        Additional Page                                                                                        Column A                  Column B
                                                                                                                         Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                         Do not deduct the value   that supports this
 previous page.                                                                                                          of collateral.            claim

2.4 Creditor’s name                                        Describe debtor’s property that is subject to a lien
      Headway Capital, LLC                                 RBF Credit Union, Prosperity Bank, Amazon.com                              $66,976.60         $368,609.38
                                                           Receivables, 2 Dell Laptop Computers, 2 computer
     Creditor’s mailing address                            printers, 100 Motorola G Power Cell Phones
      Attn: Bankruptcy Notice                              Describe the lien
      175 W. Jackson Blvd. Suite 1000                      Security interest in cash, accounts,
                                                           inventory, equipment, etc.
      Chicago, IL 60604
                                                           Is the creditor an insider or related party?
     Creditor’s email address, if known
                                                           ✔ No
                                                           ❑
                                                           ❑ Yes
     Date debt was incurred             9/19/22            Is anyone else liable on this claim?

     Last 4 digits of account
                                                           ❑ No
     number
                                    1      4   5     7
                                                           ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                           ❑
     Do multiple creditors have an interest in             As of the petition filing date, the claim is:
     the same property?                                    Check all that apply.

     ❑ No                                                  ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑                                                     ❑ Unliquidated
               relative priority?                          ❑ Disputed
         ✔ No. Specify each creditor, including
         ❑
                   this creditor, and its relative
                   priority.
                   See continuation page.
         ❑ Yes. The relative priority of creditors
                   is specified on lines

     Remarks: Line of Credit




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 11
               Case 24-41357                   Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                                      Desc Main
                                                            Document Page 21 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                                  Case number (if known)
          Name




   Part 1:        Additional Page                                                                                    Column A                  Column B
                                                                                                                     Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                     Do not deduct the value   that supports this
 previous page.                                                                                                      of collateral.            claim

2.5 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Highland Hill Capital LLC                        RBF Credit Union, Prosperity Bank, Amazon.com                              $95,677.35         $368,609.38
                                                       Receivables, 2 Dell Laptop Computers, 2 computer
     Creditor’s mailing address                        printers, 100 Motorola G Power Cell Phones
      1100 Park Central Blvd. S. Suite                 Describe the lien
      1200                                             Security interest perfected by filing of
      Pompano Beach, FL 33064                          UCC1 financing statement

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred             3/6/2024
                                                       Is anyone else liable on this claim?
     Last 4 digits of account       1                  ❑ No
     number                                            ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                       ❑
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
               relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.4

     Remarks: Merchant Cash Advance and Purchase of Receivables




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 5 of 11
               Case 24-41357                   Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                                      Desc Main
                                                            Document Page 22 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                                  Case number (if known)
          Name




   Part 1:        Additional Page                                                                                    Column A                  Column B
                                                                                                                     Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                     Do not deduct the value   that supports this
 previous page.                                                                                                      of collateral.            claim

2.6 Creditor’s name                                    Describe debtor’s property that is subject to a lien
      Highland Hill Capital LLC                        RBF Credit Union, Prosperity Bank, Amazon.com                              $94,491.25         $368,609.38
                                                       Receivables, 2 Dell Laptop Computers, 2 computer
     Creditor’s mailing address                        printers, 100 Motorola G Power Cell Phones
      1100 Park Central Blvd. S. Suite                 Describe the lien
      1200                                             Security interest perfected by filing of
      Pompano Beach, FL 33064                          UCC1 financing statement

     Creditor’s email address, if known                Is the creditor an insider or related party?
                                                       ✔ No
                                                       ❑
                                                       ❑ Yes
     Date debt was incurred             3/27/24
                                                       Is anyone else liable on this claim?
     Last 4 digits of account       2                  ❑ No
     number                                            ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                       ❑
     Do multiple creditors have an interest in
                                                       As of the petition filing date, the claim is:
     the same property?
                                                       Check all that apply.
     ❑ No                                              ❑ Contingent
     ✔ Yes. Have you already specified the
     ❑
               relative priority?
                                                       ❑ Unliquidated
                                                       ❑ Disputed
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.4

     Remarks: Merchant Cash Advance and Purchase of Receivables




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                              page 6 of 11
               Case 24-41357                     Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                                      Desc Main
                                                              Document Page 23 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                                    Case number (if known)
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.7 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      National Funding, Inc.                             RBF Credit Union, Prosperity Bank, Amazon.com                              $91,874.91         $368,609.38
                                                         Receivables, 2 Dell Laptop Computers, 2 computer
     Creditor’s mailing address                          printers, 100 Motorola G Power Cell Phones
      9530 Towne Centre Drive Suite 120                  Describe the lien
      San Diego, CA 92121                                Security interest perfected by filing of
                                                         UCC1 financing statement
     Creditor’s email address, if known
                                                         Is the creditor an insider or related party?
                                                         ✔ No
                                                         ❑
     Date debt was incurred             8/31/23          ❑ Yes
     Last 4 digits of account       8    6   7       9   Is anyone else liable on this claim?
     number                                              ❑ No
     Do multiple creditors have an interest in
                                                         ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                         ❑
     the same property?
                                                         As of the petition filing date, the claim is:
     ❑ No                                                Check all that apply.
     ✔ Yes. Have you already specified the
     ❑
               relative priority?
                                                         ❑ Contingent
                                                         ❑ Unliquidated
         ❑ No. Specify each creditor, including          ❑ Disputed
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.4

     Remarks: Business loan agreement secured by current & future assets & receivables




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 7 of 11
               Case 24-41357                     Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                                      Desc Main
                                                              Document Page 24 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                                    Case number (if known)
          Name




   Part 1:        Additional Page                                                                                      Column A                  Column B
                                                                                                                       Amount of claim           Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the                       Do not deduct the value   that supports this
 previous page.                                                                                                        of collateral.            claim

2.8 Creditor’s name                                      Describe debtor’s property that is subject to a lien
      RDM Capital Funding, LLC                           Amazon.com Receivables                                                   $226,560.00          $346,253.00

     Creditor’s mailing address                          Describe the lien

      D/B/A FinTap                                       Security interest perfected by filing of
                                                         UCC1 financing statement
      777 Passaic Ave. Suite 375
                                                         Is the creditor an insider or related party?
      Clifton, NJ 07012
                                                         ✔ No
                                                         ❑
     Creditor’s email address, if known                  ❑ Yes
                                                         Is anyone else liable on this claim?

     Date debt was incurred              3/5/24          ❑ No
                                                         ✔ Yes. Fill out Schedule H: Codebtors (Official Form 206H).
                                                         ❑
     Last 4 digits of account       5    5   1       1
     number                                              As of the petition filing date, the claim is:
                                                         Check all that apply.
     Do multiple creditors have an interest in           ❑ Contingent
                                                         ❑ Unliquidated
     the same property?
     ❑ No                                                ❑ Disputed
     ✔ Yes. Have you already specified the
     ❑
               relative priority?
         ❑ No. Specify each creditor, including
                   this creditor, and its relative
                   priority.



         ✔ Yes. The relative priority of creditors
         ❑
                   is specified on lines 2.4

     Remarks: Merchant Cash Advance and Purchase of Receivables




Official Form 206D                       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 8 of 11
               Case 24-41357            Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                                   Desc Main
                                                     Document Page 25 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                         Case number (if known)
          Name




   Part 1:       Additional Page                                                                           Column A                    Column B
                                                                                                           Amount of claim             Value of collateral
 Copy this page only if more space is needed. Continue numbering the lines sequentially from the           Do not deduct the value     that supports this
 previous page.                                                                                            of collateral.              claim

2.4 Creditor’s name                              Specify each creditor, including this creditor, and its relative priority.
      Headway Capital, LLC                       For RBF Credit Union: 1) Headway Capital, LLC; 2) National Funding, Inc.; 3) Highland Hill Capital LLC; 4)
                                                 Highland Hill Capital LLC; For Prosperity Bank: 1) Headway Capital, LLC; 2) National Funding, Inc.; 3)
                                                 Highland Hill Capital LLC; 4) Highland Hill Capital LLC; For Amazon.com Receivables: 1) Headway
                                                 Capital, LLC; 2) National Funding, Inc.; 3) Highland Hill Capital LLC; 4) Highland Hill Capital LLC; 5) RDM
                                                 Capital Funding, LLC; For 2 Dell Laptop Computers: 1) Headway Capital, LLC; 2) National Funding, Inc.;
                                                 3) Highland Hill Capital LLC; 4) Highland Hill Capital LLC; For 2 computer printers: 1) Headway Capital,
                                                 LLC; 2) National Funding, Inc.; 3) Highland Hill Capital LLC; 4) Highland Hill Capital LLC; For 100 Motorola
                                                 G Power Cell Phones: 1) Headway Capital, LLC; 2) National Funding, Inc.; 3) Highland Hill Capital LLC; 4)
                                                 Highland Hill Capital LLC




Official Form 206D                 Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 9 of 11
              Case 24-41357               Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                                Desc Main
                                                        Document Page 26 of 65
Debtor      Lone Star Logistics and Delivery, LLC                                            Case number (if known)
          Name




  Part 2:        List Others to Be Notified for a Debt Already Listed in Part 1

 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection
 agencies, assignees of claims listed above, and attorneys for secured creditors.

 If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


 Name and address                                                                                           On which line in Part 1     Last 4 digits of
                                                                                                            did you enter the           account number
                                                                                                            related creditor?           for this entity

 Headway Capital, LLC
 C/O National Registered Agents, Inc.
                                                                                                            Line 2. 4
 1999 Bryan Street Suite 900
 Dallas, TX 75201

 David Fogel, PC
 c/o David Fogel, Esq.
                                                                                                            Line 2. 5
 1225 Franklin Ave Ste. 201
 Garden City, NY 11530

 Corporation Service Company, As Rep.
 Po Box 2576                                                                                                Line 2. 5
 Springfield, IL 62708

 David Fogel, PC
 c/o David Fogel, Esq.
                                                                                                            Line 2. 6
 1225 Franklin Ave Ste. 201
 Garden City, NY 11530

 Corporation Service Company, As Rep.
 Po Box 2576                                                                                                Line 2. 6
 Springfield, IL 62708

 National Funding, Inc.
 4380 La Jolla Village Drive                                                                                Line 2. 7
 San Diego, CA 92122

 National Funding, Inc.
 9820 Towne Centre Drive                                                                                    Line 2. 7
 San Diego, CA 92121

 National Funding
 Attn: Jennifer Agriesti
                                                                                                            Line 2. 7
 4380 La Jolla Village Dr.
 San Diego, CA 92122




Form 206D                             Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                          page 10 of 11
              Case 24-41357           Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                            Desc Main
                                                   Document Page 27 of 65
Debtor      Lone Star Logistics and Delivery, LLC                                    Case number (if known)
         Name




 Name and address                                                                                   On which line in Part 1   Last 4 digits of
                                                                                                    did you enter the         account number
                                                                                                    related creditor?         for this entity

 Corporation Service Company, As Rep.
 Po Box 2576                                                                                       Line 2. 8
 Springfield, IL 62708

 Advanced Recovery Group
 Attn: Ekrem Hajra
                                                                                                   Line 2. 8
 30 Two Bridges Road Suite 100
 Fairfield, NJ 07004

 AWN&R Commercial Law Group, PLLC
 Attn: Jeffrey Parrella, Esq.
                                                                                                   Line 2. 8
 14 Wall Street, 20th Floor
 New York, NY 10005




Form 206D                         Official Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                    page 11 of 11
                    Case 24-41357                 Doc 1     Filed 06/07/24 Entered 06/07/24 13:15:56                               Desc Main
                                                             Document Page 28 of 65
 Fill in this information to identify the case:

 Debtor name                Lone Star Logistics and Delivery, LLC

 United States Bankruptcy Court for the:
                               Eastern District of Texas

 Case number (if known):                                                                                                           ❑ Check if this is an
                                                                                                                                      amended filing

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured
claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets
- Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases(Official Form 206G). Number the entries
in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1: List All Creditors with PRIORITY Unsecured Claims

  1.    Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507)
        ✔ No. Go to Part 2.
        ❑
        ❑ Yes. Go to line 2.
 2.    List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
       with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                              Total claim                  Priority amount

       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.1                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)
       Priority creditor’s name and mailing address        As of the petition filing date, the claim is:
2.2                                                        Check all that apply.
                                                           ❑ Contingent
                                                           ❑ Unliquidated
                                                           ❑ Disputed
       Date or dates debt was incurred                     Basis for the claim:



       Last 4 digits of account                            Is the claim subject to offset?

       number                                              ❑ No
       Specify Code subsection of PRIORITY unsecured
                                                           ❑ Yes
       claim: 11 U.S.C. § 507(a)




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 7
                     Case 24-41357              Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                              Desc Main
                                                              Document Page 29 of 65
Debtor        Lone Star Logistics and Delivery, LLC                                                           Case number (if known)
             Name

 Part 2: List All Creditors with NONPRIORITY Unsecured Claims

  3.     List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured
         claims, fill out and attach the Additional Page of Part 2.
                                                                                                                                       Amount of claim

3.1 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $0.00
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Amazon Logistics, Inc.

       Attn: General Counsel                                                ❑ Unliquidated
                                                                            ❑ Disputed
       Po Box 81226
                                                                            Basis for the claim: Notice Only
       Seattle, WA 98109-5210
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Date or dates debt was incurred                                      ❑ Yes
       Last 4 digits of account number

3.2 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              $14,587.71
                                                                            Check all that apply.
                                                                            ❑ Contingent
       Capital One

       PO Box 60519                                                         ❑ Unliquidated
       City of Industry, CA 91716-0519
                                                                            ❑ Disputed
                                                                            Basis for the claim: Credit Card

                                               10/21/21                     Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number         9   2   9    6               ❑ Yes
3.3 Nonpriority creditor’s name and mailing address                         As of the petition filing date, the claim is:              unknown
                                                                            Check all that apply.
                                                                            ❑ Contingent
       City of Frisco

       6101 Frisco Square Blvd.                                             ❑ Unliquidated
       Frisco, TX 75034
                                                                            ❑ Disputed
                                                                            Basis for the claim: Notice Only
                                                                            Is the claim subject to offset?
                                                                            ✔ No
       Date or dates debt was incurred
                                                                            ❑
       Last 4 digits of account number                                      ❑ Yes
       Nonpriority creditor’s name and mailing address                      As of the petition filing date, the claim is:              unknown
3.4                                                                         Check all that apply.
                                                                            ❑ Contingent
       Comptroller of Public Accounts

       Austin, TX 78774-0100                                                ❑ Unliquidated
                                                                            ❑ Disputed
       111 E. 17th Street
                                                                            Basis for the claim: Notice Only
                                                                            Is the claim subject to offset?
                                                                            ✔ No
                                                                            ❑
       Date or dates debt was incurred                                      ❑ Yes
       Last 4 digits of account number




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                             page 2 of 7
                   Case 24-41357            Doc 1         Filed 06/07/24 Entered 06/07/24 13:15:56                           Desc Main
                                                           Document Page 30 of 65
Debtor      Lone Star Logistics and Delivery, LLC                                                        Case number (if known)
           Name




 Part 2: Additional Page

3.5 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
      CSC, As Representative

      PO Box 2576                                                      ❑ Unliquidated
      Springfield, IL 62708
                                                                       ❑ Disputed
                                                                       Basis for the claim: Notice Only
                                                                       Is the claim subject to offset?
                                                                       ✔ No
      Date or dates debt was incurred
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes
3.6 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
      Denton County Tax Assessor/Collector

      1505 E. McKinney Street                                          ❑ Unliquidated
      Denton, TX 76209-4525
                                                                       ❑ Disputed
                                                                       Basis for the claim: Notice Only
                                                                       Is the claim subject to offset?
                                                                       ✔ No
      Date or dates debt was incurred
                                                                       ❑
      Last 4 digits of account number                                  ❑ Yes
3.7 Nonpriority creditor’s name and mailing address                    As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
      Frisco ISD

      C/O Perdue, Brandon et al                                        ❑ Unliquidated
                                                                       ❑ Disputed
      1919 S. Shiloh Road Suite 640, LB 40
                                                                       Basis for the claim: Notice Only
      Garland, TX 75042
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Date or dates debt was incurred                                  ❑ Yes
      Last 4 digits of account number

      Nonpriority creditor’s name and mailing address                  As of the petition filing date, the claim is:              $0.00
3.8                                                                    Check all that apply.
                                                                       ❑ Contingent
      Human Interest, Inc.

      Attn: William Crabill                                            ❑ Unliquidated
                                                                       ❑ Disputed
      2675 W. 600 N. Suite 200
                                                                       Basis for the claim: Notice Only
      Lindon, UT 84042
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
      Date or dates debt was incurred                                  ❑ Yes
      Last 4 digits of account number
      Remarks: 401k Plan Administrator




Official Form 206E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                   page 3 of 7
                    Case 24-41357            Doc 1         Filed 06/07/24 Entered 06/07/24 13:15:56                          Desc Main
                                                            Document Page 31 of 65
Debtor        Lone Star Logistics and Delivery, LLC                                                      Case number (if known)
             Name




 Part 2: Additional Page

3.9      Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Internal Revenue Service

         Central Insolvency Operations                                 ❑ Unliquidated
                                                                       ❑ Disputed
         PO Box 7346
                                                                       Basis for the claim: Notice Only
         Philadelphia, PA 19101-7346
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred                               ❑ Yes
         Last 4 digits of account number

3.10 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         Texas Workforce Commission

         TEC Building - Bankruptcy                                     ❑ Unliquidated
                                                                       ❑ Disputed
         101 E 15th St
                                                                       Basis for the claim: Notice Only
         Austin, TX 78778-1442
                                                                       Is the claim subject to offset?
                                                                       ✔ No
                                                                       ❑
         Date or dates debt was incurred                               ❑ Yes
         Last 4 digits of account number

3.11 Nonpriority creditor’s name and mailing address                   As of the petition filing date, the claim is:              unknown
                                                                       Check all that apply.
                                                                       ❑ Contingent
         U.S. Securities and Exchange Commission

         801 Cherry Street Suite 1900, Unit 18                         ❑ Unliquidated
         Fort Worth, TX 76102
                                                                       ❑ Disputed
                                                                       Basis for the claim: Notice Only
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes
         Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
3.12                                                                   Check all that apply.
                                                                       ❑ Contingent
         United States Attorney's Office

         110 N. College Avenue Suite 700                               ❑ Unliquidated
         Tyler, TX 75702-0204
                                                                       ❑ Disputed
                                                                       Basis for the claim: Notice Only
                                                                       Is the claim subject to offset?
                                                                       ✔ No
         Date or dates debt was incurred
                                                                       ❑
         Last 4 digits of account number                               ❑ Yes




Official Form 206E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                    page 4 of 7
                    Case 24-41357          Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                          Desc Main
                                                        Document Page 32 of 65
Debtor        Lone Star Logistics and Delivery, LLC                                                  Case number (if known)
             Name




 Part 2: Additional Page

3.13 Nonpriority creditor’s name and mailing address               As of the petition filing date, the claim is:              unknown
                                                                   Check all that apply.
                                                                   ❑ Contingent
         United States Trustee

         110 North College Ave. Room 300                           ❑ Unliquidated
         Tyler, TX 75702
                                                                   ❑ Disputed
                                                                   Basis for the claim: Notice Only
                                                                   Is the claim subject to offset?
                                                                   ✔ No
         Date or dates debt was incurred
                                                                   ❑
         Last 4 digits of account number                           ❑ Yes




Official Form 206E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                    page 5 of 7
                     Case 24-41357               Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                              Desc Main
                                                               Document Page 33 of 65
Debtor        Lone Star Logistics and Delivery, LLC                                                           Case number (if known)
              Name

 Part 3: List Others to Be Notified About Unsecured Claims

 4.     List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection
        agencies, assignees of claims listed above, and attorneys for unsecured creditors.
      If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.


          Name and mailing address                                                     On which line in Part 1 or Part 2 is the related         Last 4 digits of
                                                                                       creditor (if any) listed?                                account number,
                                                                                                                                                if any

 4.1     Linebarger, Goggan, Blair & Sampson, LLP                                    Line 3.3

         2777 N Stemmons Fwy Ste 1000                                                ❑ Not listed. Explain
         Dallas, TX 75207-2328




Official Form 206E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                              page 6 of 7
                   Case 24-41357             Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                     Desc Main
                                                          Document Page 34 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                                Case number (if known)
            Name

 Part 4: Total Amounts of the Priority and Nonpriority Unsecured Claims


  5.     Add the amounts of priority and nonpriority unsecured claims.


                                                                                                   Total of claim amounts



  5a. Total claims from Part 1                                                     5a.              $0.00



  5b. Total claims from Part 2                                                     5b.
                                                                                          +         $14,587.71



  5c. Total of Parts 1 and 2                                                       5c.              $14,587.71
      Lines 5a + 5b = 5c.




Official Form 206E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                           page 7 of 7
                     Case 24-41357                Doc 1    Filed 06/07/24 Entered 06/07/24 13:15:56                               Desc Main
                                                            Document Page 35 of 65
 Fill in this information to identify the case:

 Debtor name                Lone Star Logistics and Delivery, LLC

 United States Bankruptcy Court for the:
                              Eastern District of Texas

 Case number (if known):                                    Chapter     11                                                        ❑ Check if this is an
                                                                                                                                     amended filing

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                           12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries
consecutively.
 1.    Does the debtor have any executory contracts or unexpired leases?
       ❑ No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
       ✔ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form
       ❑
       206A/B).
 2. List all contracts and unexpired leases                                               State the name and mailing address for all other parties with whom the
                                                                                          debtor has an executory contract or unexpired lease

       State what the contract or
                                             Amazon Logistics Delivery Service            Amazon Logistics, Inc.
2.1    lease is for and the nature
       of the debtor’s interest
                                             Partner Program Agreement
                                                                                          Attn: Director, Amazon Logistics
                                             Contract to be ASSUMED
                                                                                          PO Box 81226
       State the term remaining              4 months                                     Seattle, WA 98109-5210
       List the contract number of
       any government contract

       State what the contract or
                                             U.S. Vehicle Use Agreement                   Amazon Logistics, Inc.
2.2    lease is for and the nature
       of the debtor’s interest                                                           Attn: Director, Amazon Logistics
                                             Contract to be ASSUMED
                                                                                          PO Box 81226
       State the term remaining              2 months
                                                                                          Seattle, WA 98109-5210
       List the contract number of
       any government contract

       State what the contract or
                                             Amazon Logistics Delivery Service            Amazon Logistics, Inc.
2.3    lease is for and the nature
       of the debtor’s interest
                                             Partner Program Agreement
                                                                                          Attn: Director, Amazon Logistics
                                             Contract to be ASSUMED
                                                                                          PO Box 81226
       State the term remaining              15 months                                    Seattle, WA 98109-5210
       List the contract number of
       any government contract

       State what the contract or
                                             Accounting Services                          The Tax Planning Pros
2.4    lease is for and the nature
       of the debtor’s interest                                                           5 Cowboys Way
                                             Contract to be REJECTED

       State the term remaining              Unknown
                                             0 months                                     Frisco, TX 75034

       List the contract number of
       any government contract




Official Form 206G                                   Schedule G: Executory Contracts and Unexpired Leases                                                 page 1 of 2
                     Case 24-41357           Doc 1     Filed 06/07/24 Entered 06/07/24 13:15:56                         Desc Main
                                                        Document Page 36 of 65

Debtor      Lone Star Logistics and Delivery, LLC                                                   Case number (if known)
           Name

         Additional Page if Debtor Has More Executory Contracts or Unexpired Leases

      Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

   List all contracts and unexpired leases                                         State the name and mailing address for all other parties with whom the
                                                                                   debtor has an executory contract or unexpired lease

         State what the contract or
                                         Lease of Fleet Vans (30 Vans)              Wheels
2.5      lease is for and the nature
         of the debtor’s interest                                                   Formerly Lease Plan USA Inc.
                                         Contract to be ASSUMED

         State the term remaining        Various
                                         0 monthsremaining lease terms as           PO Box 978763
                                         detailed in Exhibit A to Debtor's          Dallas, TX 75397-8763
         List the contract number of
                                         Schedules
         any government contract

         State what the contract or
                                         Lease of Fleet Vans (40 vans)              Xcelerate
2.6      lease is for and the nature
         of the debtor’s interest                                                   Formerly Element Fleet
                                         Contract to be ASSUMED

         State the term remaining       Various remaining lease terms as
                                         0 months                                   9350 Excelsior Blvd. Suite 400
                                        detailed in Exhibit A to Debtor's           Hopkins, MN 55343
         List the contract number of
         any government contract
                                        Schedules




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                        page 2 of 2
                Case 24-41357                     Doc 1     Filed 06/07/24 Entered 06/07/24 13:15:56                                Desc Main
                                                             Document Page 37 of 65
 Fill in this information to identify the case:

  Debtor name          Lone Star Logistics and Delivery, LLC


  United States Bankruptcy Court for the:                 Eastern           District of             Texas
                                                                                          (State)
  Case number (If known):                                                                                                             ❑ Check if this is an
                                                                                                                                          amended filing


Official Form 206H

Schedule H: Codebtors                                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively.
Attach the Additional Page to this page.


  1.    Does the debtor have any codebtors?
        ❑ No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
        ✔ Yes
        ❑
  2.    In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
        Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
        creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

         Column 1: Codebtor                                                                                 Column 2: Creditor

                                                                                                                                       Check all schedules
         Name                               Mailing address                                                 Name
                                                                                                                                       that apply:

         Blackmire Realty Inv.                                                                              Highland Hill Capital      ✔D
                                                                                                                                       ❑
 2.1     Florida, LLC                        5211 Spanish Oaks Drive                                        LLC                        ❑ E/F
                                            Street                                                                                     ❑G


                                             Frisco, TX 75034
                                            City                    State                  ZIP Code

         Blackmire, Brian
 2.2     Anthony                             5211 Spanish Oaks                                              G M Financial              ✔D
                                                                                                                                       ❑
                                            Street                                                                                     ❑ E/F
                                                                                                                                       ❑G
                                                                                                            Ally Financial             ✔D
                                                                                                                                       ❑
                                             Frisco, TX 75034
                                                                                                                                       ❑ E/F
                                            City                    State                  ZIP Code
                                                                                                                                       ❑G
                                                                                                            Highland Hill Capital      ✔D
                                                                                                                                       ❑
                                                                                                            LLC                        ❑ E/F
                                                                                                                                       ❑G
                                                                                                            Highland Hill Capital      ✔D
                                                                                                                                       ❑
                                                                                                            LLC                        ❑ E/F
                                                                                                                                       ❑G
                                                                                                            RDM Capital Funding,       ✔D
                                                                                                                                       ❑
                                                                                                            LLC                        ❑ E/F
                                                                                                                                       ❑G
                                                                                                            National Funding, Inc.     ✔D
                                                                                                                                       ❑
                                                                                                                                       ❑ E/F
                                                                                                                                       ❑G




Official Form 206H                                                   Schedule H: Codebtors                                                     page 1 of     2
              Case 24-41357              Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                           Desc Main
                                                      Document Page 38 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                        Case number (if known)
            Name


                 Additional Page if Debtor Has More Codebtors

                Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.

         Column 1: Codebtor                                                                     Column 2: Creditor

                                                                                                                             Check all schedules
         Name                         Mailing address                                           Name
                                                                                                                             that apply:

                                                                                                 Capital One                 ❑D
                                                                                                                             ✔ E/F
                                                                                                                             ❑
                                                                                                                             ❑G
                                                                                                 Headway Capital, LLC        ✔D
                                                                                                                             ❑
                                                                                                                             ❑ E/F
                                                                                                                             ❑G
 2.3                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.4                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.5                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code

 2.6                                                                                                                         ❑D
                                      Street                                                                                 ❑ E/F
                                                                                                                             ❑G

                                      City                   State             ZIP Code




Official Form 206H                                             Schedule H: Codebtors                                             page   2   of     2
                           Case 24-41357                            Doc 1               Filed 06/07/24 Entered 06/07/24 13:15:56                                                                 Desc Main
                                                                                         Document Page 39 of 65

 Fill in this information to identify the case:

 Debtor name                          Lone Star Logistics and Delivery, LLC

 United States Bankruptcy Court for the:
                                        Eastern District of Texas

 Case number (if known):                                                                 Chapter           11                                                                                     ❑ Check if this is an
                                                                                                                                                                                                      amended filing

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                                        12/15

 Part 1: Summary of Assets



 1. Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

    1a. Real Property:
           Copy line 88 from Schedule A/B........................................................................................................................................                                            $0.00

    1b. Total personal property:
           Copy line 91A from Schedule A/B......................................................................................................................................                                       $695,609.38
    1c. Total of all property:
           Copy line 92 from Schedule A/B.........................................................................................................................................
                                                                                                                                                                                                                       $695,609.38




  Part 2: Summary of Liabilities




 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
    Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D.................                                                                                                       $873,845.93


 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

    3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F....................................................................................                                                                $0.00

    3b. Total amount of claims of non-priority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F......................................................                                                           +            $14,587.71




 4. Total liabilities..............................................................................................................................................................................                    $888,433.64
    Lines 2 + 3a + 3b




Official Form 206Sum                                                                           Summary of Assets and Liabilities for Non-Individuals                                                                          page 1
                     Case 24-41357                Doc 1      Filed 06/07/24 Entered 06/07/24 13:15:56                                 Desc Main
                                                              Document Page 40 of 65

 Fill in this information to identify the case:

 Debtor name                Lone Star Logistics and Delivery, LLC

 United States Bankruptcy Court for the:
                              Eastern District of Texas

 Case number (if known):                                                                                                              ❑ Check if this is an
                                                                                                                                         amended filing

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                               12/15
An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form for the
schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any amendments of those
documents. This form must state the individual’s position or relationship to the debtor, the identity of the document, and the date. Bankruptcy Rules 1008
and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with
a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



          Declaration and signature

         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
         serving as a representative of the debtor in this case.
         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         ✔
         ❑     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         ✔
         ❑     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         ✔
         ❑     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         ✔
         ❑     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         ✔
         ❑     Schedule H: Codebtors (Official Form 206H)

         ✔
         ❑     A Summary of Assets and Liabilities for Non-Individuals (Official Form 206A-Summary)

         ❑     Amended Schedule

         ✔
         ❑     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

         ✔
         ❑     Other document that requires a declaration List of Equity Security Holders




         I declare under penalty of perjury that the foregoing is true and correct.



         Executed on     06/07/2024
                          MM/ DD/ YYYY
                                                                            ✘ /s/ Brian Anthony Blackmire
                                                                                Signature of individual signing on behalf of debtor


                                                                                 Brian Anthony Blackmire
                                                                                Printed name


                                                                                 Director and Owner
                                                                                Position or relationship to debtor



Official Form B202                                 Declaration Under Penalty of Perjury for Non-Individual Debtors
                        Case 24-41357               Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                      Desc Main
                                                                  Document Page 41 of 65
 Fill in this information to identify the case:

 Debtor name                Lone Star Logistics and Delivery, LLC

 United States Bankruptcy Court for the:
                              Eastern District of Texas

 Case number (if known):                                                                                                       ❑ Check if this is an
                                                                                                                                   amended filing

Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                  04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s
name and case number (if known).



 Part 1: Income


 1.     Gross revenue from business

         ❑ None
        Identify the beginning and ending dates of the debtor’s fiscal year, which         Sources of revenue                 Gross revenue
        may be a calendar year                                                             Check all that apply               (before deductions and
                                                                                                                              exclusions)

       From the beginning of the                                                         ✔ Operating a business
                                                                                         ❑                                                 $2,207,013.18
                                        From 01/01/2024
                                                                                         ❑ Other
       fiscal year to filing date:                                to    Filing date
                                                  MM/ DD/ YYYY


       For prior year:                  From 01/01/2023           to    12/31/2023       ✔ Operating a business
                                                                                         ❑                                                 $6,133,067.13
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other

       For the year before that:        From 01/01/2022           to    12/31/2022       ✔ Operating a business
                                                                                         ❑                                                 $5,655,221.75
                                                  MM/ DD/ YYYY            MM/ DD/ YYYY
                                                                                         ❑ Other


 2.     Non-business revenue
         Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and
         royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

         ❑ None
                                                                                         Description of sources of revenue    Gross revenue from each
                                                                                                                              source
                                                                                                                              (before deductions and
                                                                                                                              exclusions)

      From the beginning of the
      fiscal year to filing date:      From 01/01/2024           to    Filing date       Auto Insurance Refund                                $60,464.68
                                                  MM/ DD/ YYYY


      For prior year:                  From 01/01/2023           to    12/31/2023        Federal Employee Retention
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY    Credit                                              $820,069.69


      For the year before that:        From 01/01/2022           to    12/31/2022        Federal Paycheck Protection
                                                  MM/ DD/ YYYY           MM/ DD/ YYYY    Plan Funds                                          $383,050.29



Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
Debtor
                        Case 24-41357          Doc 1
                 Lone Star Logistics and Delivery, LLC
                                                           Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                         Case number (if known)
                 Name
                                                            Document Page 42 of 65

 Part 2: List Certain Transfers Made Before Filing for Bankruptcy
 3.     Certain payments or transfers to creditors within 90 days before filing this case
        List payments or transfers—including expense reimbursements—to any creditor, other than regular employee compensation, within 90 days before filing
        this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
        years after that with respect to cases filed on or after the date of adjustment.)

        ❑ None
         Creditor’s name and address                     Dates             Total amount or value          Reasons for payment or transfer
                                                                                                          Check all that apply

 3.1.   Capital One                                      90 days                    $38,240.29            ❑ Secured debt
        Creditor's name                                  pre-petition                                     ❑ Unsecured loan repayments
        PO Box 60519                                                                                      ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ✔ Other Credit Card Payments
                                                                                                          ❑
        City of Industry, CA 91716-0519
        City                       State    ZIP Code

 3.2.   Ally Financial                                   3/6/24                      $9,600.00            ✔ Secured debt
                                                                                                          ❑
        Creditor's name                                                                                   ❑ Unsecured loan repayments
        PO Box 380901                                    4/8/24                                           ❑ Suppliers or vendors
        Street
                                                         5/7/24
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Bloomington, MN 55438
        City                       State    ZIP Code

 3.3.   Highland Hill Capital LLC                        90 days                    $47,857.50            ✔ Secured debt
                                                                                                          ❑
        Creditor's name                                  pre-petition                                     ❑ Unsecured loan repayments
        1100 Park Central Blvd. S. Suite 1200                                                             ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        Pompano Beach, FL 33064
        City                       State    ZIP Code

 3.4.   RDM Capital Funding, LLC                         90 days                    $38,125.00            ✔ Secured debt
                                                                                                          ❑
        Creditor's name                                  pre-petition                                     ❑ Unsecured loan repayments
        777 Passaic Ave. Suite 375                                                                        ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
        D/B/A FinTap
                                                                                                          ❑ Other
        Clifton, NJ 07012
        City                       State    ZIP Code

 3.5.   National Funding, Inc.                           90 days                    $41,761.35            ✔ Secured debt
                                                                                                          ❑
        Creditor's name                                  pre-petition                                     ❑ Unsecured loan repayments
        9530 Towne Centre Drive Suite 120                                                                 ❑ Suppliers or vendors
        Street
                                                                                                          ❑ Services
                                                                                                          ❑ Other
        San Diego, CA 92121
        City                       State    ZIP Code




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 2
Debtor
                        Case 24-41357            Doc 1
                 Lone Star Logistics and Delivery, LLC
                                                               Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                             Case number (if known)
                 Name
                                                                Document Page 43 of 65


 4.     Payments or other transfers of property made within 1 year before filing this case that benefited any insider
        List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or
        co-signed by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be
        adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3.
        Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership debtor and their
        relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).
        ✔ None
        ❑
         Insider’s name and address                         Dates              Total amount or value            Reasons for payment or transfer


 4.1.
        Creditor's name


        Street




        City                        State     ZIP Code

         Relationship to debtor




 5.     Repossessions, foreclosures, and returns
        List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a
        foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the property                                Date                    Value of property


 5.1.
        Creditor's name


        Street




        City                        State     ZIP Code



 6.     Setoffs
        List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the
        debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
        ✔ None
        ❑
         Creditor’s name and address                        Description of the action creditor took                    Date action was         Amount
                                                                                                                       taken

 6.1.
        Creditor's name
                                                             XXXX–
        Street




        City                        State     ZIP Code




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 3
Debtor
                        Case 24-41357           Doc 1
                 Lone Star Logistics and Delivery, LLC
                                                             Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                           Case number (if known)
                 Name
                                                              Document Page 44 of 65
 Part 3: Legal Actions or Assignments
 7.     Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
        List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any
        capacity—within 1 year before filing this case.
        ❑ None
 7.1.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        Highland Hill Capital LLC              Collections Action                     Supreme Court of the State of New                   ✔ Pending
                                                                                                                                          ❑
        vs. Lone Star Logistics                                                       York County of Monroe
                                                                                      Name
                                                                                                                                          ❑ On appeal
        and Delivery LLC d/b/a
        Lone Star Logistics and                                                       99 Exchange Blvd. #545                              ❑ Concluded
        Delivery, Blackmore                                                           Street
        Realty Investments
        Florida, LLC and Brian
        Anthony Blackmore                                                             Rochester, NY 14614
                                                                                      City                          State   ZIP Code

         Case number

        E2024007092
 7.2.    Case title                             Nature of case                          Court or agency's name and address                  Status of case

        RDM Capital Funding LLC                Collections Action                     Supreme Court of the State of New                   ✔ Pending
                                                                                                                                          ❑
        DBA Fintap vs. Lone Star                                                      York County of Monroe
                                                                                      Name
                                                                                                                                          ❑ On appeal
        Logistics and Delivery
        LLC and Brian Blackmore                                                       99 Exchange Blvd. #545                              ❑ Concluded
                                                                                      Street

         Case number
                                                                                      Rochester, NY 14614
        E2024009194                                                                   City                          State   ZIP Code



 8.     Assignments and receivership
        List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
        receiver, custodian, or other court-appointed officer within 1 year before filing this case.
        ✔ None
        ❑
 8.1.    Custodian’s name and address                     Description of the property                         Value


        Custodian’s name
                                                          Case title                                          Court name and address
        Street
                                                                                                             Name

                                                          Case number
                                                                                                             Street
        City                        State    ZIP Code



                                                          Date of order or assignment                        City                        State    ZIP Code




 Part 4: Certain Gifts and Charitable Contributions
 9.     List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts
        to that recipient is less than $1,000
        ❑ None




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                             page 4
Debtor
                         Case 24-41357            Doc 1
                  Lone Star Logistics and Delivery, LLC
                                                               Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                             Case number (if known)
                  Name
                                                                Document Page 45 of 65
 9.1.     Recipient’s name and address                      Description of the gifts or contributions                 Dates given           Value

         Elevate Life Church                               Cash Gift                                                 1/23/23                        $115,828.28
         Recipient’s name
         8500 Teel Parkway
         Street



         Frisco, TX 75034
         City                        State     ZIP Code


          Recipient’s relationship to debtor

         None



 Part 5: Certain Losses
 10. All losses from fire, theft, or other casualty within 1 year before filing this case.
         ✔ None
         ❑
           Description of the property lost and how the         Amount of payments received for the loss                     Date of loss      Value of property
           loss occurred                                        If you have received payments to cover the loss, for                           lost
                                                                example, from insurance, government compensation,
                                                                or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).


 10.1.




 Part 6: Certain Payments or Transfers
 11. Payments related to bankruptcy
         List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this
         case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a
         bankruptcy case.
         ❑ None
 11.1.    Who was paid or who received the transfer?             If not money, describe any property transferred           Dates               Total amount or
                                                                                                                                               value

         DeMarco Mitchell, PLLC                                 Attorney’s Fee                                            5/31/2024                    $8,262.00

          Address

         500 N. Central Expressway Suite 500
         Street



         Plano, TX 75074
         City                        State     ZIP Code


          Email or website address

         www.demarcomitchell.com

          Who made the payment, if not debtor?




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
Debtor
                         Case 24-41357           Doc 1
                  Lone Star Logistics and Delivery, LLC
                                                              Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                            Case number (if known)
                  Name
                                                               Document Page 46 of 65
 11.2.    Who was paid or who received the transfer?            If not money, describe any property transferred           Dates              Total amount or
                                                                                                                                             value

         Second Wind Consultants                               Cash payment                                             4/25/24                      $5,000.00

          Address

         17 New South Street Suite 304
         Street



         Northampton, MA 01060
         City                        State    ZIP Code


          Email or website address

         https://secondwindconsultants.com

          Who made the payment, if not debtor?




 12. Self-settled trusts of which the debtor is a beneficiary
         List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a
         self-settled trust or similar device.
         Do not include transfers already listed on this statement.
         ✔ None
         ❑
 12.1.     Name of trust or device                            Describe any property transferred                        Dates transfers       Total amount or
                                                                                                                       were made             value




           Trustee




 13. Transfers not already listed on this statement
         List any transfers of money or other property—by sale, trade, or any other means—made by the debtor or a person acting on behalf of the debtor within 2
         years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both
         outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.
         ✔ None
         ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 6
Debtor
                         Case 24-41357             Doc 1
                Lone Star Logistics and Delivery, LLC
                                                                  Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                                Case number (if known)
                Name
                                                                   Document Page 47 of 65
 13.1.    Who received the transfer?                             Description of property transferred or payments           Date transfer      Total amount or
                                                                 received or debts paid in exchange                        was made           value




          Address


         Street




         City                        State       ZIP Code


          Relationship to debtor




 Part 7: Previous Locations
 14. Previous addresses
         List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         ✔ Does not apply
         ❑
          Address                                                                                              Dates of occupancy

 14.1.
                                                                                                              From                     To
         Street




         City                        State       ZIP Code




 Part 8: Health Care Bankruptcies
 15. Health Care bankruptcies
         Is the debtor primarily engaged in offering services and facilities for:
          —diagnosing or treating injury, deformity, or disease, or
          —providing any surgical, psychiatric, drug treatment, or obstetric care?
         ✔ No. Go to Part 9.
         ❑
         ❑ Yes. Fill in the information below.
          Facility name and address                         Nature of the business operation, including type of services the       If debtor provides meals
                                                            debtor provides                                                        and housing, number of
                                                                                                                                   patients in debtor’s care

 15.1.
         Facility name


         Street                                             Location where patient records are maintained(if different from        How are records kept?
                                                            facility address). If electronic, identify any service provider.
         City                   State    ZIP Code                                                                                 Check all that apply:
                                                                                                                                  ❑ Electronically
                                                                                                                                  ❑ Paper




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 7
Debtor
                        Case 24-41357            Doc 1
                 Lone Star Logistics and Delivery, LLC
                                                              Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                            Case number (if known)
                 Name
                                                               Document Page 48 of 65
 Part 9: Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?
        ✔ No.
        ❑
        ❑ Yes. State the nature of the information collected and retained.
                   Does the debtor have a privacy policy about that information?
                   ❑ No
                   ❑ Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b) or other pension or profit-
     sharing plan made available by the debtor as an employee benefit?
        ❑ No. Go to Part 10.
        ✔ Yes. Does the debtor serve as plan administrator?
        ❑
               ✔ No. Go to Part 10.
               ❑
               ❑ Yes. Fill in below:
                        Name of plan                                                                 Employer identification number of the plan

                                                                                                    EIN:        –

                         Has the plan been terminated?
                         ❑ No
                         ❑ Yes


 Part 10: Certain Financial Accounts, Safe Deposit Boxes, and Storage Units
 18. Closed financial accounts
        Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved,
        or transferred?
        Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
        cooperatives, associations, and other financial institutions.
        ✔ None
        ❑
         Financial institution name and address           Last 4 digits of account      Type of account             Date account was          Last balance
                                                          number                                                    closed, sold, moved,      before closing
                                                                                                                    or transferred            or transfer

 18.1
                                                          XXXX–                        ❑ Checking
        Name
                                                                                       ❑ Savings
                                                                                       ❑ Money market
                                                                                       ❑ Brokerage
        Street


                                                                                       ❑ Other
        City                       State   ZIP Code
 19. Safe deposit boxes
        List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
        ✔ None
        ❑




Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 8
Debtor
                         Case 24-41357             Doc 1
                  Lone Star Logistics and Delivery, LLC
                                                               Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                             Case number (if known)
                  Name
                                                                Document Page 49 of 65
 19.1     Depository institution name and address          Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code


 20. Off-premises storage
         List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the
         debtor does business.
         ✔ None
         ❑
 20.1     Facility name and address                        Names of anyone with access to it            Description of the contents                Does debtor
                                                                                                                                                   still have it?

                                                                                                                                                  ❑ No
                                                                                                                                                  ❑ Yes
         Name


         Street

                                                           Address

         City                      State     ZIP Code




 Part 11: Property the Debtor Holds or Controls That the Debtor Does Not Own
 21. Property held for another
         List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list
         leased or rented property.
         ✔ None
         ❑
          Owner’s name and address                                Location of the property                     Description of the property                 Value



         Name


         Street




         City                        State     ZIP Code




 Part 12: Details About Environmental Information


 For the purpose of Part 12, the following definitions apply:
        Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
        medium affected (air, land, water, or any other medium).
        Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
        owned, operated, or utilized.
        Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly
        harmful substance.



Official Form 207                                 Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                            page 9
Debtor
                      Case 24-41357           Doc 1
               Lone Star Logistics and Delivery, LLC
                                                           Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                         Case number (if known)
               Name
                                                            Document Page 50 of 65
 Report all notices, releases, and proceedings known, regardless of when they occurred.

 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Case title                               Court or agency name and address                     Nature of the case                         Status of case

                                                                                                                                                 ❑ Pending
         Case number
                                                 Name
                                                                                                                                                 ❑ On appeal
                                                                                                                                                 ❑ Concluded
                                                 Street




                                                 City                        State   ZIP Code

 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code

 24. Has the debtor notified any governmental unit of any release of hazardous material?
      ✔ No
      ❑
      ❑ Yes. Provide details below.
         Site name and address                    Governmental unit name and address                   Environmental law, if known                Date of notice



      Name                                       Name


      Street                                     Street




      City                 State   ZIP Code      City                        State   ZIP Code




 Part 13: Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
      List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this
      information even if already listed in the Schedules.
      ✔ None
      ❑




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                      page 10
Debtor
                         Case 24-41357           Doc 1
                  Lone Star Logistics and Delivery, LLC
                                                              Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                            Case number (if known)
                  Name
                                                               Document Page 51 of 65
           Business name and address                 Describe the nature of the business                       Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.
 25.1.
                                                                                                              EIN:          –
          Name
                                                                                                               Dates business existed

          Street
                                                                                                              From                 To



          City                State   ZIP Code


 26. Books, records, and financial statements
 26a.      List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
           ❑None
            Name and address                                                                                    Dates of service

 26a.1. The Tax Planning Pros                                                                                  From 12/20/2023      To Present
           Name
           6170 Research Road
           Street



           Frisco, TX 75033
           City                                          State                  ZIP Code


 26b.      List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
           statement within 2 years before filing this case.
           ✔None
           ❑
            Name and address                                                                                    Dates of service

 26b.1.
                                                                                                               From                 To
           Name


           Street




           City                                          State                  ZIP Code


 26c.      List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
           ✔None
           ❑
            Name and address                                                                                    If any books of account and records are
                                                                                                                unavailable, explain why
 26c.1.


           Name


           Street




           City                                          State                  ZIP Code

 26d.    List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.
         ✔None
         ❑


Official Form 207                                Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 11
Debtor
                        Case 24-41357            Doc 1
                 Lone Star Logistics and Delivery, LLC
                                                                Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                              Case number (if known)
                 Name
                                                                 Document Page 52 of 65
           Name and address

 26d.1.

          Name


          Street




          City                                              State                  ZIP Code


 27. Inventories
         Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         ✔ No
         ❑
         ❑ Yes. Give the details about the two most recent inventories.
          Name of the person who supervised the taking of the inventory                           Date of             The dollar amount and basis (cost, market, or
                                                                                                  inventory           other basis) of each inventory




          Name and address of the person who has possession of inventory records

 27.1.

         Name


         Street




         City                                       State               ZIP Code

 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in
     control of the debtor at the time of the filing of this case.
          Name                            Address                                                          Position and nature of any            % of interest, if any
                                                                                                           interest

         Blackmire, Brian                5211 Spanish Oaks Frisco, TX 75034                               Owner & Director,                                100.00%
         Anthony

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of
     the debtor, or shareholders in control of the debtor who no longer hold these positions?
         ✔ No
         ❑
         ❑ Yes. Identify below.
          Name                            Address                                                       Position and nature of any       Period during which
                                                                                                        interest                         position or interest was
                                                                                                                                         held

                                                                                                    ,                                     From
                                                                                                                                          To

 30. Payments, distributions, or withdrawals credited or given to insiders
         Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans,
         credits on loans, stock redemptions, and options exercised?
         ❑ No
         ✔ Yes. Identify below.
         ❑




Official Form 207                               Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 12
Debtor
                    Case 24-41357              Doc 1
             Lone Star Logistics and Delivery, LLC
                                                            Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                          Case number (if known)
             Name
                                                             Document Page 53 of 65
         Name and address of recipient                                           Amount of money or description       Dates               Reason for providing
                                                                                 and value of property                                    the value


 30.1. Blackmire, Brian Anthony                                                                    $1,008,962.53     12 month            Salary and
      Name                                                                                                           period              performance
      5211 Spanish Oaks                                                                                              pre-petition        bonuses
      Street



      Frisco, TX 75034
      City                                      State        ZIP Code


         Relationship to debtor

      Owner & Director of Debtor
         Name and address of recipient                                           Amount of money or description       Dates               Reason for providing
                                                                                 and value of property                                    the value


 30.2. Brandii Blackmire                                                                             $130,000.00     12 month            Annual Salary
      Name                                                                                                           period
      5211 Spanish Oaks                                                                                              pre-petition
      Street



      Frisco, TX 75034
      City                                      State        ZIP Code


         Relationship to debtor

      Spouse

 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the parent corporation                                                        Employer Identification number of the parent corporation

                                                                                                  EIN:       –


 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
      ✔ No
      ❑
      ❑ Yes. Identify below.
             Name of the pension fund                                                              Employer Identification number of the pension fund

                                                                                                  EIN:       –



 Part 14: Signature and Declaration


    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a
    bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


    I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and
    correct.


    I declare under penalty of perjury that the foregoing is true and correct.


    Executed on        06/07/2024
                    MM/ DD/ YYYY




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 13
Debtor
                     Case 24-41357
            Lone Star Logistics and Delivery, LLC
                                                    Doc 1          Filed 06/07/24 Entered 06/07/24 13:15:56 Desc Main
                                                                                                 Case number (if known)
            Name
                                                                    Document Page 54 of 65


    ✘ /s/ Brian Anthony Blackmire                                        Printed name               Brian Anthony Blackmire
         Signature of individual signing on behalf of the debtor



      Position or relationship to debtor      Director and Owner



    Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
    ✔ No
    ❑
    ❑ Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy         page 14
                      Case 24-41357               Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                                   Desc Main
                                                                Document Page 55 of 65
 Fill in this information to identify the case:

 Debtor name                Lone Star Logistics and Delivery, LLC

 United States Bankruptcy Court for the:
                              Eastern District of Texas

 Case number (if known):                                                                                                                  ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                          12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not
include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the
unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20 largest unsecured claims.

    Name of creditor and complete             Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code       and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                              creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                              professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                              services, and           or disputed      for value of collateral or setoff to calculate
                                                                              government                               unsecured claim.
                                                                              contracts)                               Total claim, if    Deduction for       Unsecured
                                                                                                                       partially          value of            claim
                                                                                                                       secured            collateral or
                                                                                                                                          setoff
1     Capital One                                                             Credit Card                                                                          $14,587.71
      PO Box 60519
      City of Industry, CA 91716-0519


2     G M Financial                                                           Purchase Money                              $122,187.91         $90,000.00           $32,187.91
      801 Cherry Street Suite 3600                                            Lien Perfected by
      Fort Worth, TX 76102                                                    Notation on
                                                                              Certificate of Title


3     RDM Capital Funding, LLC                                                Security interest                           $226,560.00        $346,253.00          $215,270.73
      D/B/A FinTap                                                            perfected by filing
      777 Passaic Ave. Suite 375                                              of UCC1 financing
      Clifton, NJ 07012                                                       statement


4




5




6




7




8




Official Form 204                             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                page 1
                    Case 24-41357             Doc 1        Filed 06/07/24 Entered 06/07/24 13:15:56                                   Desc Main
                                                            Document Page 56 of 65
Debtor       Lone Star Logistics and Delivery, LLC                                                            Case number (if known)
             Name

    Name of creditor and complete         Name, telephone number,         Nature of the claim     Indicate if      Amount of unsecured claim
    mailing address, including zip code   and email address of            (for example, trade     claim is         If the claim is fully unsecured, fill in only
                                          creditor contact                debts, bank loans,      contingent,      unsecured claim amount. If claim is partially
                                                                          professional            unliquidated,    secured, fill in total claim amount and deduction
                                                                          services, and           or disputed      for value of collateral or setoff to calculate
                                                                          government                               unsecured claim.
                                                                          contracts)                               Total claim, if    Deduction for    Unsecured
                                                                                                                   partially          value of         claim
                                                                                                                   secured            collateral or
                                                                                                                                      setoff
9




10




11




12




13




14




15




16




17




18




19




20




Official Form 204                         Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            page 2
              Case 24-41357        Doc 1  Filed 06/07/24 Entered 06/07/24 13:15:56                       Desc Main
                                           Document Page 57 of 65
                                     UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF TEXAS
                                              SHERMAN DIVISION

IN RE:                                                                               CHAPTER 11
Lone Star Logistics and Delivery, LLC

DEBTOR(S)                                                                            CASE NO


                                            LIST OF EQUITY SECURITY HOLDERS


Registered Name of Holder of Security               Class of Security          Number Registered               Kind of Interest
Last Known Address or Place of Business                                                                        Registered

Brian Blackmire                                     Sole Shareholder                                           100%
5211 Spanish Oaks
Frisco, TX 75034

                                  DECLARATION UNDER PENALTY OF PERJURY
                                ON BEHALF OF A CORPORATION OR PARTNERSHIP

  I, the                    Director and Owner              of the                    Nonpublic Corporation
named as the debtor in this case, declare under penalty of perjury that I have read the foregoing list and that it is true
and correct to the best of my information and belief.



Date: 06/07/2024                                     Signature: /s/ Brian Anthony Blackmire
                                                                 Brian Anthony Blackmire, Director and Owner
                 Case 24-41357                         Doc 1             Filed 06/07/24 Entered 06/07/24 13:15:56                                                      Desc Main
                                                                          Document Page 58 of 65

B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                   Eastern District of Texas

In re        Lone Star Logistics and Delivery, LLC

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      11


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $8,262.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $8,262.00

        Balance Due ................................................................................................................................................            $0.00

2.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
3.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

5.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;

        b.      Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

        c.      Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6.      By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                                                                  Page 1 of 2
            Case 24-41357            Doc 1      Filed 06/07/24 Entered 06/07/24 13:15:56                          Desc Main
                                                 Document Page 59 of 65

B2030 (Form 2030) (12/15)


                                                             CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                        06/07/2024                                            /s/ Michael S. Mitchell
                Date                                         Michael S. Mitchell
                                                             Signature of Attorney
                                                                                             Bar Number: 00788065
                                                                                           DeMarco Mitchell, PLLC
                                                                               500 N. Central Expressway Suite 500
                                                                                                   Plano, TX 75074
                                                                                             Phone: (972) 578-1400

                                                                           DeMarco Mitchell, PLLC
                                                            Name of law firm




Date:         06/07/2024                                                 /s/ Brian Anthony Blackmire
                                                          Brian Anthony Blackmire




                                                                 Page 2 of 2
          Case 24-41357               Doc 1       Filed 06/07/24 Entered 06/07/24 13:15:56                               Desc Main
                                                   Document Page 60 of 65
                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                        EASTERN DISTRICT OF TEXAS
                                                             SHERMAN DIVISION

IN RE: Lone Star Logistics and Delivery, LLC                                           CASE NO

                                                                                       CHAPTER 11




                                                   VERIFICATION OF CREDITOR MATRIX

  The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date      06/07/2024             Signature                          /s/ Brian Anthony Blackmire
                                                               Brian Anthony Blackmire, Director and Owner
Case 24-41357   Doc 1   Filed 06/07/24 Entered 06/07/24 13:15:56   Desc Main
                         Document Page 61 of 65

                            Advanced Recovery Group
                            Attn: Ekrem Hajra
                            30 Two Bridges Road Suite 100
                            Fairfield, NJ 07004



                            Ally Financial
                            PO Box 380901
                            Bloomington, MN 55438




                            Amazon Logistics, Inc.
                            Attn: General Counsel
                            Po Box 81226
                            Seattle, WA 98109-5210



                            Amazon Logistics, Inc.
                            Attn: Director, Amazon Logistics
                            PO Box 81226
                            Seattle, WA 98109-5210



                            AWN&R Commercial Law
                            Group, PLLC
                            Attn: Jeffrey Parrella, Esq.
                            14 Wall Street, 20th Floor
                            New York, NY 10005


                            Blackmire Realty Inv. Florida,
                            LLC
                            5211 Spanish Oaks Drive
                            Frisco, TX 75034



                            Brian Anthony Blackmire
                            5211 Spanish Oaks
                            Frisco, TX 75034




                            Capital One
                            PO Box 60519
                            City of Industry, CA 91716-0519
Case 24-41357   Doc 1   Filed 06/07/24 Entered 06/07/24 13:15:56   Desc Main
                         Document Page 62 of 65

                            City of Frisco
                            6101 Frisco Square Blvd.
                            Frisco, TX 75034




                            Comptroller of Public
                            Accounts
                            Austin, TX 78774-0100
                            111 E. 17th Street



                            Corporation Service Company,
                            As Rep.
                            Po Box 2576
                            Springfield, IL 62708



                            CSC, As Representative
                            PO Box 2576
                            Springfield, IL 62708




                            David Fogel, PC
                            c/o David Fogel, Esq.
                            1225 Franklin Ave Ste. 201
                            Garden City, NY 11530



                            Davis Wright Tremaine, LLP
                            Attn: Alex Rivera
                            920 5th Avenue Suite 3300
                            Seattle, WA 98104-1610



                            Denton County Tax
                            Assessor/Collector
                            1505 E. McKinney Street
                            Denton, TX 76209-4525



                            Frisco ISD
                            C/O Perdue, Brandon et al
                            1919 S. Shiloh Road Suite 640, LB 40
                            Garland, TX 75042
Case 24-41357   Doc 1   Filed 06/07/24 Entered 06/07/24 13:15:56    Desc Main
                         Document Page 63 of 65

                            G M Financial
                            801 Cherry Street Suite 3600
                            Fort Worth, TX 76102




                            GM Financial
                            801 Cherry Street Suite 3600
                            Fort Worth, TX 76102




                            Headway Capital, LLC
                            Attn: Bankruptcy Notice
                            175 W. Jackson Blvd. Suite 1000
                            Chicago, IL 60604



                            Headway Capital, LLC
                            C/O National Registered Agents, Inc.
                            1999 Bryan Street Suite 900
                            Dallas, TX 75201



                            Highland Hill Capital LLC
                            1100 Park Central Blvd. S. Suite 1200
                            Pompano Beach, FL 33064




                            Human Interest, Inc.
                            Attn: William Crabill
                            2675 W. 600 N. Suite 200
                            Lindon, UT 84042



                            Internal Revenue Service
                            Central Insolvency Operations
                            PO Box 7346
                            Philadelphia, PA 19101-7346



                            Linebarger, Goggan, Blair &
                            Sampson, LLP
                            2777 N Stemmons Fwy Ste 1000
                            Dallas, TX 75207-2328
Case 24-41357   Doc 1   Filed 06/07/24 Entered 06/07/24 13:15:56    Desc Main
                         Document Page 64 of 65

                            National Funding
                            Attn: Jennifer Agriesti
                            4380 La Jolla Village Dr.
                            San Diego, CA 92122



                            National Funding, Inc.
                            9530 Towne Centre Drive Suite 120
                            San Diego, CA 92121




                            National Funding, Inc.
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                            National Funding, Inc.
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                            San Diego, CA 92121




                            RDM Capital Funding, LLC
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                            Clifton, NJ 07012



                            Texas Workforce Commission
                            TEC Building - Bankruptcy
                            101 E 15th St
                            Austin, TX 78778-1442



                            The Tax Planning Pros
                            5 Cowboys Way
                            Frisco, TX 75034




                            U.S. Securities and Exchange
                            Commission
                            801 Cherry Street Suite 1900, Unit 18
                            Fort Worth, TX 76102
Case 24-41357   Doc 1   Filed 06/07/24 Entered 06/07/24 13:15:56   Desc Main
                         Document Page 65 of 65

                            United States Attorney's
                            Office
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                            Tyler, TX 75702-0204



                            United States Trustee
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                            Tyler, TX 75702




                            Wheels
                            Formerly Lease Plan USA Inc.
                            PO Box 978763
                            Dallas, TX 75397-8763



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                            Formerly Element Fleet
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